             Case 4:23-cv-04155-YGR Document 175 Filed 02/23/24 Page 1 of 5



 1 JESSE LASLOVICH
   United States Attorney
 2 MADISON L. MATTIOLI                                       MARK STEGER SMITH
    MT Bar No. 36411284                                       MT Bar No. 4160
 3 ABBIE J.N. CZIOK                                          TIMOTHY A. TATARKA
    MT Bar No. 55781377                                       CA Bar No. 277219
 4 Assistant U.S. Attorneys                                  Assistant U.S. Attorneys
   U.S. Attorney’s Office                                    U.S. Attorney’s Office
 5 901 Front Street, Suite 1100                              James F. Battin Federal Courthouse
   Helena, MT 59626                                          2601 2nd Ave. North, Suite 3200
 6 Phone: (406) 457-5269 – Madison                           Billings, MT 59101
        (406) 457-5268 – Abbie                               Phone: (406) 247-4667 – Mark
 7 Fax: (406) 457-5130                                               (406) 247-4642
   Email: madison.mattioli@usdoj.gov                         Fax: (406) 657-6058
 8     abbie.cziok@usdoj.gov                                 Email: mark.smith3@usdoj.gov
                                                                  timothy.tatarka@usdoj.gov
 9 Attorneys for Defendant
   United States of America and Federal Defendants
10

11                        IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
12
     CALIFORNIA COALITION FOR WOMEN
13   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
     G.M.; A.S.; and L.T., individuals on behalf of
14   themselves and all others similarly situated,        CASE NO. 4:23-CV-04155-YGR
15                        Plaintiffs
                    v.
16
     UNITED STATES OF AMERICA FEDERAL
17   BUREAU OF PRISONS, a governmental entity;            UNITED STATES’ REPLY TO DOC. 163
     BUREAU OF PRISONS DIRECTOR
18   COLETTE PETERS, in her official capacity;
     FCI DUBLIN WARDEN THAHESHA JUSINO,
19   in her official capacity; OFFICER
     BELLHOUSE, in his individual capacity;
20   OFFICER GACAD, in his individual capacity;
     OFFICER JONES, in his individual capacity;
21   LIEUTENANT JONES, in her individual
     capacity; OFFICER LEWIS, in his individual
22   capacity; OFFICER NUNLEY, in his individual
     capacity, OFFICER POOL, in his individual
23   capacity, LIEUTENANT PUTNAM, in his
     individual capacity; OFFICER SERRANO, in
24   his individual capacity; OFFICER SHIRLEY, in
     his individual capacity; OFFICER SMITH, in his
25   individual capacity; and OFFICER VASQUEZ,
     in her individual capacity,
26
                         Defendants.
27

28          The United States respectfully submits its response to Plaintiffs’ brief filed on February 20,

                                                         1                            Case No. 4:23-cv-04155-YGR

                                       UNITED STATES’ REPLY TO DOC. 163
             Case 4:23-cv-04155-YGR Document 175 Filed 02/23/24 Page 2 of 5



 1 2024. First, a contempt order is not appropriate at this time because the BOP’s decision to transfer R.F.

 2 was based on a reasonable, good faith understanding of the Court’s December 30, 2023 order. Second,

 3 R.F.’s SHU placement and subsequent transfer were motivated by legitimate safety and security

 4 concerns.

 5              I.     A contempt order is not appropriate.

 6          Defendants acted on a reasonable interpretation of the court’s order, and when they realized that

 7 that understanding was not consistent with the Court’s, they promptly moved to undo their actions.

 8 Plaintiffs only cite a portion of the language from the Ninth Circuit’s case In re Dual-Deck Video

 9 Cassatte Recorder Antitrust Litigation. The Court acknowledged that, “there is no good faith exception

10 to the requirement of obedience to a court order,” per se, but recognized that “a person should not be

11 held in contempt if his action appears to be based on a good faith and reasonable interpretation of the

12 court’s order.” In re Dual-Deck Video Cassette Recorder Antitrust Litig., 10 F.3d 693, 695 (9th Cir.

13 1993) (internal formatting and quotation marks omitted); see also Reno Air Racing Ass’n., Inc. v.

14 McCord, 452 F.3d 1126, 1130 (9th Cir. 2006) (“The contempt need not be willful; however, a person

15 should not be held in contempt if his action appears to be based on a good faith and reasonable

16 interpretation of the court’s order.” (citations and internal quotation marks omitted)). Thus, a reasonable,

17 albeit incorrect, understanding of a court’s order should not be subject to contempt.

18          Here, there is clear and convincing evidence that Defendants substantially complied with a good

19 faith, reasonable interpretation of the Court’s order by maintaining the availability of individuals on

20 Plaintiffs’ witness list for witness preparation and testimony at the hearing, thereby addressing the
21 concerns raised in Plaintiffs’ motion for administrative relief.

22          Defendants made a reasonable, honest mistake in failing to understand the Court’s order as

23 applying to a transfer made after the hearing and unrelated to witness availability for hearing preparation

24 or testimony. While Defendants acknowledge the order was not expressly tied to the hearing, they

25 reasonably interpreted its open-ended nature as a function of the Court’s suggestion that the hearing

26 could be rescheduled for additional time to prepare witnesses. Once the hearing concluded, the

27 individuals on the witness list were no longer potential “witnesses,” as that term was one only

28 meaningful as applied to the then-concluded evidentiary proceeding. The mistake was regrettable and

                                                         2                           Case No. 4:23-cv-04155-YGR

                                       UNITED STATES’ REPLY TO DOC. 163
             Case 4:23-cv-04155-YGR Document 175 Filed 02/23/24 Page 3 of 5



 1 once the Court’s intention was understood on February 14, 2024, Defendants rectified the situation

 2 within 48 hours.

 3          The Assistant United States Attorneys representing the federal defendants in this case as well as

 4 the Bureau of Prisons attorneys advising FCI Dublin on R.F.’s temporary transfer take full responsibility

 5 for having honestly but incorrectly interpreted the Court’s order. The undersigned did not intend to

 6 evade the Court’s instructions, nor show any lack of respect for the Orders of this Court. Indeed, the

 7 history of this litigation demonstrates counsel for Defendants unstintingly comply with orders they

 8 understand, e.g., notices have been immediately posted in housing units, blankets have been provided,

 9 inspections arranged, etc. Defendants respectfully maintain that sanctions are not merited under these

10 circumstances.

11              II.    R.F.’S placement in SHU and subsequent temporary transfer were motivated by

12                     legitimate safety and security concerns.

13          FCI Dublin executive staff placed R.F. in SHU based on information that R.F. had potentially

14 encouraged another inmate to file a false complaint against staff. (Deveney Decl. passim, Dulgov Decl.

15 Doc. 161-3 at 2.) FCI Dublin Associate Warden Patrick Deveney explained the basis for R.F.’s initial

16 SHU placement as necessary pending an investigation into behavior that seriously threatened the orderly

17 running of the institution. (Deveney Decl. 4-15.) “Pending investigation” is the same reason listed on the

18 administrative detention order provided to this Court. Lt. Allen Baudizzon was not involved in R.F.’s

19 SHU placement, nor was R.F. informed that her placement in SHU was based on staff finding screws in

20 her cell, which occurred after she had been placed. (Deveney Decl.)
21          R.F. states that she was housed in SHU Cell 102 for seven days. (Doc. 166 at 2.) She raises

22 various concerns about the conditions in SHU. (Id. at 2-3.) SHU Lieutenant Eric Sanchez explained that

23 prior to RF’s placement in Cell 102, SHU staff reported possible mold and contacted the FCI Dublin’s

24 Safety and Occupational Health Specialist. The Specialist treated Cell 102 with Sporicidin on January

25 29-30, 2024. Following the second treatment on January 30, 2024, Cell 102 was ready for the next

26 inmate placement. (Sanchez Decl. at 2.) The cell was cleaned prior to her placement, staff were not

27 aware of any “human filth,” and R.F. did not communicate to anyone in SHU there was water on the

28

                                                        3                           Case No. 4:23-cv-04155-YGR

                                       UNITED STATES’ REPLY TO DOC. 163
               Case 4:23-cv-04155-YGR Document 175 Filed 02/23/24 Page 4 of 5



 1 floor of her cell. (Id.) Had she done so these issues would have been resolved or R.F. would have been

 2 relocated. (Id.) All inmates were provided hygiene items. (Id. at 2-3.)

 3            Upon her arrival in SHU, R.F. immediately commenced a hunger strike. (Deveney Decl., Doc.

 4 161-3 at 2.) Thereafter, nine inmates joined her in hunger striking. (Doc. 161-3 at 5.) In the executive

 5 staff’s experience, “hunger strikes can lead to serious health concerns that may eventually require forced

 6 medical intervention.” (Doc. 161-3 at 5-6.) As a result, Interim Warden Art Dulgov began contemplating

 7 a temporary transfer of R.F. “to reduce of risk of more inmates going on a hunger strike, pending further

 8 investigation into R.F.’s role.” (Doc. 161-3 at 5.) After R.F. accepted a nutritional drink on February 6,

 9 2024, Dulgov submitted a request to temporarily transfer R.F. (Doc. 161-3 at 5.) This decision was made

10 based on reasonable correctional judgment and upon the advice of counsel. (Doc. 161-3 at 5.) Within

11 three days of R.F.’s temporary transfer, all inmates in SHU resumed eating all regular meals. (Doc. 161-

12 3 at 6.)

13            A week later, on February 14, 2024, this Court conducted an onsite, unscheduled visit lasting

14 nine hours at the FCI Dublin Prison and Satellite Camp. (See Docs. 155, 157 at 1.) Following this visit,

15 this Court issued an Order to Show Cause why the government should not be held in contempt or

16 sanctioned for transferring R.F., in violation of the Doc. 88, and ordered her returned. (Doc. 155.) On

17 February 15, 2024, the undersigned, in consultation with BOP Western Regional Counsel Dennis Wong

18 and FCI Dublin staff, arranged for the immediate return of R.F. to Dublin. (Deveney Decl.)

19

20
21

22

23

24

25

26                                                                             On February 16, 2023, R.F.

27 returned to FCI Dublin and was placed in general population. An SIS investigation into her role in the

28

                                                         4                           Case No. 4:23-cv-04155-YGR

                                        UNITED STATES’ REPLY TO DOC. 163
             Case 4:23-cv-04155-YGR Document 175 Filed 02/23/24 Page 5 of 5



 1 hunger strikes was subsequently completed, and it was determined that each inmate had their own

 2 reasons for declaring a hunger strike and their actions were not related. (Deveney Decl.)

 3          Deveney explained the basis for R.F.’s initial SHU placement as necessary pending an

 4 investigation into behavior that seriously threatened the orderly running of the institution. BOP

 5 maintains this decision was based on sound correctional considerations and, while R.F.’s placement in

 6 SHU was insufficiently documented, it was not motivated by animus or in retaliation for her testimony.

 7 Additionally, and as stated, it is now clear that BOP misinterpreted this Court’s prior order prohibiting

 8 witness transfers (doc. 88) as being time limited to pre-evidentiary hearing, but R.F.’s temporary transfer

 9 was motivated by legitimate safety concerns based on management’s belief that R.F.’s presence in SHU

10 may encourage prolonged or additional hunger strikes. Dublin management determined that temporarily

11 moving R.F. was the best way to ensure everyone’s safety at that time. They requested concurrence from

12 BOP’s Western Regional Office to temporarily transfer R.F. to stabilize conditions in SHU and

13 investigate her role in the joint hunger strikes. Her temporary transfer was communicated transparently

14 to Plaintiffs’ counsel and was not motivated by animus or done in retaliation for her testimony.

15          The United States respectfully submits this response and requests that the Court terminate the

16 Order to Show Cause and decline to impose sanctions.

17          Respectfully submitted on this 23rd day of February, 2024.

18
                                                         JESSE A. LASLOVICH
19                                                       United States Attorney
20
                                                         /s/ Madison L. Mattioli
21                                                       MADISON L. MATTIOLI
                                                         ABBIE J.N. CZIOK
22                                                       MARK STEGER SMITH
                                                         TIMOTHY A. TATARKA
23                                                       Assistant U.S. Attorneys
                                                         Attorneys for Federal Defendants
24

25

26

27

28

                                                        5                           Case No. 4:23-cv-04155-YGR

                                       UNITED STATES’ REPLY TO DOC. 163
